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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
               Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                             SECOND DECLARATION OF ERIE MEYER

       I, Erie Meyer, declare as follows:

   1. My name is Erie Meyer.

   2. I served as the Chief Technologist and Senior Advisor to the Director at the Consumer

Financial Protection Bureau until February 7, 2025.

   3. I am preparing this declaration to ensure that the Court is aware of the imminent risk that

twelve years’ of critical CFPB records, which belong to the public, will be irretrievably lost and

cause serious and sweeping damage unless the Court takes action to preserve the status quo in the

face of efforts to dismantle the CFPB.

   4. I have direct knowledge of the CFPB’s data management practices and the vital role that

its data plays in protecting consumers and ensuring fairness in the financial system.

   5. The CFPB manages a wide range of sensitive data critical to the enforcement of federal

consumer protection laws. This data includes, but is not limited to, supervisory and examination

records of financial institutions, enforcement action data, consumer complaints, personal consumer

information, and market research records. The CFPB’s databases hold information regarding the
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activities of large financial institutions, including details about compliance, enforcement actions,

consumer experiences, and financial products.

   6. Public reporting and reports that I have received from within the Bureau reliably indicate

that databases holding the CFPB’s data will soon be deleted.

   7. If that happens, it would result in the immediate and irrevocable loss of data essential to

the agency's core mission. I believe this loss would have catastrophic effects, including:

       •   Incapacitation of the Bureau’s Public Facing Obligations: The loss of this data

           will make the Consumer Response database unavailable and/or unreliable, severely

           hamper—if not entirely take down—the Bureau’s website, and likely result in the loss

           of mandatory public reporting the Bureau has previously done.

       •   Loss of Consumer Protection Information: A significant portion of the CFPB's

           data comprises sensitive consumer information, including personally identifiable

           information (PII). The loss of such data would severely disrupt the Bureau's ability to

           investigate and take enforcement actions against violations of consumer protection

           laws. In addition, it would leave consumers without critical recourse in the event of

           financial harm caused by institutions under the Bureau's jurisdiction.

       •   Financial System Instability: The deletion of data that tracks the financial

           behavior of institutions, including compliance and enforcement records, would impair

           the Bureau's ability to identify risks and respond to emerging threats within the financial

           system. This could destabilize markets, allow bad actors to exploit weaknesses in

           financial institutions, and undermine public trust in the financial system.

       •   Competitive Disadvantages and Market Manipulation: If such data were

           deleted, there would be no way to ensure that it was not accessed or misused by


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           unauthorized parties. For example, tech companies moving into financial services could

           gain an illegal competitive advantage by accessing sensitive consumer financial data or

           enforcement records, and the audit logs of that activity could be deleted. This could

           result in unfair competition and undermine market integrity.

   8. The deletion of these records, particularly without proper safeguards in place, would have

lasting and serious consequences. Not only would it harm consumers and financial institutions, but

it would also undermine the integrity of federal financial laws. In the absence of this data, it would

be nearly impossible for the CFPB to fulfill its statutory obligations to protect consumers from

fraudulent practices and ensure fair treatment in financial markets.

   9. Based on my experience and expertise, I believe that the deletion of the CFPB's databases

and contracts would cause irreversible damage, not only to the Bureau's mission but also to

consumer protection and the financial system as a whole. Any such action would severely impair

the Bureau's ability to safeguard the public interest.

   10. Over the past 24 hours, I have learned from many well informed Bureau officials that

leadership intends to fire massive numbers of Bureau staff today and into the weekend, threatening

the decimation of the Bureau. These firings are troubling in themselves but they will also make it

even more difficult to ensure the preservation of the Bureau’s data. The loss of the Bureau’s staff

further threatens the Bureau’s existence.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



Executed in Washington, D.C. on February 14, 2025.



                                                              Erie Meyer

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